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    7                          UNITED STATES DISTRICT COURT
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                             CENTRAL DISTRICT OF CALIFORNIA
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        ESTATE OF RONALD BUSHY and                       CASE NO.: 2:22-cv-0095-FMO-
   10 NANCY BUSHY as Personal                            GJS
        Representative of the Estate of Ronald
   11 Bushy,                                             ORDER AND JUDGMENT RE:
                                                         STIPULATION FOR ENTRY OF
   12                                                    JUDGMENT
                                     Plaintiff,
   13                                                    The Honorable Fernando M.
                                                         Olguin
   14
              vs.
   15
        GREEN, MICHAEL and DOES 1 through
   16 30, inclusive,
   17
                                     Defendant.
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   20         Based on the Parties’ Stipulation for Entry of Judgment and GOOD CAUSE
   21 APPEARING,
   22         IT IS HEREBY ORDERED, ADJUGED, AND DECREED:
   23               1. Judgment is hereby entered in favor of Plaintiffs and against Defendant
   24                  as to Plaintiff’s claims against Defendant for Declaratory and
   25                  Injunctive Relief, Rectification of the Trademark Registration, Civil
   26                  Liability for False or Fraudulent Registration, Conversion, False
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              ORDER AND JUDGMENT RE: STIPULATION FOR ENTRY OF JUDGMENT
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    1              Designation of Origin, Statutory Unfair Competition, and Intentional
    2              Interference with Economic Relationship;
    3           2. It is hereby declared that any right, title, or interest in the U.S.
    4              Registration No. 1,672,168 (the “168’ Reg.”) is rightly retained and
    5              vests in Ronald Bushy;
    6           3. An Order will be issued pursuant to 15 U.S.C. § 1119 to the United
    7              States Patent and Trademark Office (“USPTO”) Assignment
    8              Recordation Branch, the USPTO, and all those that control the
    9              assignment recordation process that Defendant’s recorded assignment
   10              of the 168’ Reg. on 10/01/2021, Reel/Frame 7440/0236 is void ab initio
   11              and the 168’ Reg. trademark rights revert back to Ronald Bushy;
   12           4. Upon acknowledgment by the USPTO that Reel/Frame 7440/0236 is
   13              void ab initio, acceptance of the recordation of the 168’ Reg. to Ronald
   14              Bushy, and assignment to the Bushy Family Trust of any remaining
   15              168’ Reg. trademark rights conveyed to Defendant by Catherine Nail;
   16              and upon dismissal with prejudice of all third party defendants in the
   17              District of Utah matter entitled Green v. Park City Performance et al.,
   18              2:21-cv-00627-JNP-CMR; only then shall Plaintiffs’ claims against
   19              Defendant will be DISMISSED WITH PREJUDICE.
   20           5. Defendant, and other entities in which Defendant retains any ownership
   21              interest, either directly or through his family or agents are permanently
   22              enjoined from infringing any of Plaintiffs’ trademarks;
   23           6. Defendant admits and acknowledges that the 168’ Reg. and all IRON
   24              BUTTERFLY trademark rights are owned by Plaintiff are valid and
   25              enforceable;
   26           7. Defendant agrees to cooperate with Plaintiffs to whatever extent is
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             ORDER AND JUDGMENT RE: STIPULATION FOR ENTRY OF JUDGMENT
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    1              necessary to nullify the Reel/Frame 7440/0236 such that a proper chain
    2              of title would establish rights in the 168’ Reg. to Plaintiffs. In the event
    3              the USPTO or the Commissioners of Trademark do not accept the
    4              invalidity of Reel/Frame 7440/0236, Defendant assigns in its entirety
    5              any and all rights of the 168’ Reg. to Plaintiffs;
    6           8. No appeal shall be taken from this Consent Judgment;
    7           9. Each Party shall bear its own costs and attorneys’ fees; and
    8           10. This Court shall retain jurisdiction of this case to enforce the terms set
    9              forth in this Order.
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   11 Dated: June 6, 2022       By:             /s/
   12                                     Hon. Fernando M. Olguin
                                          United States District Judge
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             ORDER AND JUDGMENT RE: STIPULATION FOR ENTRY OF JUDGMENT
